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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION
                                             CASE №: 8:23-cv-223
JOSIAH COLON, et al.,
                               Plaintiffs,
v.
BUREAU OF ALCOHOL, TOBACCO,
FIREARMS AND EXPLOSIVES, et al.,
                               Defendants.
____________________________________/
     STATEMENT OF COUNSEL AS TO TED WILLIAM MARTIN AND
           2ND AMENDMENT ARMORY AND AFFIDAVIT

       In compliance with this Court’s order of June 13, 2023 (ECF 31) Counsel

for Plaintiffs respectfully submit the following statement and affidavit:


       Counsel has received the affidavit of Plaintiff Ted William Martin in his

individual capacity and in his capacity as the owner of 2nd Amendment

Armory. It is attached to this filing. To the understanding of counsel, Plaintiffs

Martin and Second Amendment Armory no longer have firearms in inventory

with attached stabilizing braces. They, however, are unaware of the status of

compliance of any of their customers which may have purchased stabilizing

braces or firearms with attached stabilizing braces prior to the complained-of

conduct, and thus those customers may be imperiled by the actions of

Defendants.

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Respectfully Submitted,
                          DATED: June 21, 2023


 ___________________________             ___________________________
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    AFFIDAVIT OF TED WILLIAM MARTIN & 2ND AMENDMENT
                         ARMORY
                                  June 15, 2023
      I am Ted William Martin, a natural person and owner of 2nd

Amendment Armory. I have in my own possession, and in the shop s

possession, stabilizing braces. Prior to June 1, 2023, I removed the braces from

the firearms in our possession.




Under penalty of perjury, I affirm the foregoing statement to be true.




 _____________________________

 TED WILLIAM MARTIN
 Owner, 2nd Amendment Armory
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                      CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on June 21, 2023 I electronically filed the
foregoing document with the Clerk of the Court using CM/ECF. I also certify
that the foregoing document is being served this day on all counsel of record
via transmission of Notices of Electronic Filing generated by CM/ECF.

                                   ________________________
                                   Zachary Z. Zermay, Esq.
